     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                            Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                  Phone: (312) 435-5850
             Chicago, Illinois 60604                                        www.ca7.uscourts.gov




                                                     FINAL JUDGMENT
 July 30, 2019

                                        JOEL M. FLAUM, Circuit Judge
    Before:
                                        MICHAEL S. KANNE, Circuit Judge

                                        MICHAEL Y. SCUDDER, Circuit Judge


                                         TIMOTHY J. FAST,
                                         Plaintiff - Appellant

 No. 18-3571                             v.

                                         CASH DEPOT, LTD.,
                                         Defendant - Appellee

  Originating Case Information:

 District Court No: 1:16-cv-01637-WCG
 Eastern District of Wisconsin
 District Judge William C. Griesbach



       The judgment of the District Court is AFFIRMED, with costs, in accordance with
the decision of this court entered on this date.




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